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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 ANTHONY MONTAGNA,
                                                    CV 21-42-M-KLD
                       Plaintiff,

 vs.                                                 ORDER


 JANICE E. SCHMIT,Individually and
 As Trustee of THE JANICE E.
 SCHMIT LIVING TRUST, and JOHN
 DOES 1-5,

                       Defendant.


       The parties have filed a joint Stipulation of Dismissal with Prejudice.(Doc.

15). The parties request that this Court dismiss the above-captioned matter with

prejudice, with each party to bear its own costs and fees. Accordingly,

       IT IS ORDERED that the above-captioned matter is DISMISSED WITH

PREJUDICE, with each party to bear its owns costs and fees. All deadlines are

VACATED.


       The Clerk of Court is directed to close the case file.

                    DATED this 24th day of September, 2021.




                                        Kathleen L. DeSoto
                                        United States Magistrate Judge
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